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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF FLORIDA
                                    GAINESVILLE DIVISION

UNITED STATES OF AMERICA

-vs-                                                   Case # 1:05MJ19 AK

MICHAEL GIBSON
                                                       USM # 20605-017

                                                       Defendant’s Attorney:
                                                       Thomas Miller (AFPD)
                                                       101 S.E. 2nd Avenue
                                                       Gainesville, FL 32601


___________________________________

                                JUDGMENT IN A CRIMINAL CASE

The defendant pled guilty to Counts 1 - 3 of the Complaint on May 10, 2005. Accordingly, IT IS
ORDERED that the defendant is adjudged guilty of such count(s) which involve(s) the following
offense(s):

       TITLE/SECTION                NATURE OF                   DATE OFFENSE
          NUMBER                     OFFENSE                     CONCLUDED                COUNT

 38CFR1.28(b)11            Disorderly Conduct                      May 9, 2005               1

 38CFR1.28(b)16            Entering VA under the influence         May 9, 2005               2
                           of alcohol

 38CFR1.218(b)39           Possession of knife/possession          May 9, 2005               3
                           of hand held weapon

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.



                                                       Date of Imposition of Sentence:
                                                       May 10, 2005


                                                       s/ A. KORNBLUM
                                                       ALLAN KORNBLUM
                                                       UNITED STATES MAGISTRATE JUDGE

                                                       Date: May 10, 2005
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                                                    IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 30 days as to counts 1, 2, and 3 each count to run consecutive with
each other for a total of 90 days incarceration.

       During that time defendant will undergo medical and psychological evaluation,
specifically for alcohol and substance abuse, and treatment as warranted by the Veteran’s
Administration.




                                                           RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                 __________________________________
                                                                        UNITED STATES MARSHAL


                                                               By:__________________________________
                                                                           Deputy U.S. Marshal
